              Case 24-16239-JKS                   Doc 1    Filed 06/20/24 Entered 06/20/24 17:05:35                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                NJ Mobile HealthCare LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  575 Corporate Drive, Suite 525
                                  Mahwah, NJ 07430
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Bergen                                                        Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://njmhc.com/


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    NJ Mobile HealthCare LLC                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                When                                Case number
                                                 District                                When                                Case number




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          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Attachment                                               Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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         Name

                            $50,001 - $100,000                        $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                            $100,001 - $500,000                       $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                     $100,000,001 - $500 million            More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 20, 2024
                                                  MM / DD / YYYY


                             X /s/ Louis V. Greco III                                                     Louis V. Greco III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X /s/ Tracy L. Klestadt                                                       Date June 20, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tracy L. Klestadt
                                 Printed name

                                 Klestadt Winters Jureller Southard & Stevens, LLP
                                 Firm name

                                 200 West 41st Street
                                 17th Floor
                                 New York, NY 10036
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 972-3000                Email address      tklestadt@klestadt.com

                                 043111986 NJ
                                 Bar number and State




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           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Lime Line Operations LLC                                                Relationship to you               Affiliate
District   New Jersey                                 When     6/20/24             Case number, if known
Debtor     SSME Services LLC                                                       Relationship to you               Affiliate
District   New Jersey                                 When     6/20/24             Case number, if known




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                                  WRITTEN CONSENT
                                          OF
                                THE REQUISITE MEMBER
                                          OF
                              NJ MOBILE HEALTH CARE LLC

        THE UNDERSIGNED, constituting the Requisite Member (defined below) of NJ
MOBILE HEALTH CARE LLC, a Delaware limited liability company (the “Company”), does
hereby consent to the following resolutions in lieu of a meeting with the same force and effect as
if adopted at a duly held meeting of the members of the Company and with the direction that this
Written Consent (this “Consent”) be filed in the minute book of the Company:

        WHEREAS, the undersigned Member holds a ninety-nine (99%) percent membership
interest in the Company and is duly empowered to adopt and authorize this Consent and the
resolutions contained herein (the “Requisite Member”);

       WHEREAS, the Requisite Member has reviewed and analyzed the materials regarding the
financial condition, capital structure, liquidity position, short-term and long-term prospects of the
Company and its subsidiaries and affiliates, and the restructuring and other strategic alternatives
available to the Company and its subsidiaries and affiliates, and the impact of the foregoing on the
Company’s and its subsidiaries’ and affiliates’ business; and

        WHEREAS, the Requisite Member has determined that it is desirable and in the best
interests of the Company and its creditors, members, and other interested parties that a petition be
filed by the Company seeking to reorganize under the provisions of Title 11 of the United States
Code (the “Bankruptcy Code”);

       NOW THEREFORE, BE IT RESOLVED, that the Company is hereby empowered,
authorized, and directed to file a voluntary petition for relief under Chapter 11 of the Bankruptcy
Code (the “Chapter 11 Case”) in a court of proper jurisdiction (the “Bankruptcy Court”);

        RESOLVED FURTHER, that Louis V. Greco III, as Manager of the Company, and the
officers of the Company (each an “Authorized Person” and collectively, the “Authorized Persons”)
are, and each of them acting individually is, hereby appointed as the Company’s authorized
representative(s), and in such capacity, the Authorized Persons (and their delegates) are, and each
of them acting individually is, hereby empowered, authorized, and directed to execute and file on
behalf of the Company, all petitions, schedules, lists, applications, pleadings and other motions,
papers, agreements, consents or documents, and to take any and all action that they deem necessary
or proper to obtain such relief, including, without limitation, any action necessary to maintain the
ordinary course operation of the Company’s businesses;

         RESOLVED FURTHER, that the law firm of Klestadt Winters Jureller Southard &
Stevens, LLP (“KWJSS”) is hereby empowered, authorized, and directed to represent the
Company as its general bankruptcy counsel, and to represent and assist the Company in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights and obligations, including the preparation of pleadings and filings; and in connection

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therewith, the Authorized Persons (and their delegates) are, and each of them acting individually
is, hereby empowered, authorized, and directed to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Chapter 11 Case, and to cause
to be filed an appropriate application for authority to retain the services of KWJSS;

        RESOLVED FURTHER, that the Authorized Persons (and their delegates) are, and each
of them acting individually is, hereby empowered, authorized, and directed to employ any other
individual and/or firm as professionals or consultants or financial advisors to the Company as are
deemed necessary to represent and assist the Company in carrying out its duties under Chapter 11
of the Bankruptcy Code, and in connection therewith, the Authorized Persons (and their delegates)
are, and each of them acting individually is, hereby empowered, authorized, and directed to execute
appropriate retention agreements, pay appropriate retainers, if required, prior to and immediately
upon the filing of the Chapter 11 Case, and to cause to be filed an appropriate application for
authority to retain the services of any such individual and/or firm;

        RESOLVED FURTHER, that all acts lawfully done or actions lawfully taken by the
Authorized Persons (or their delegates) or any of the Company’s retained professionals to seek
relief on behalf of the Company under Chapter 11 of the Bankruptcy Code or in connection with
the Chapter 11 Case in connection with such proceedings, or any matter related thereof, are hereby
adopted, ratified, confirmed, and approved in all respects as the acts and deeds of the Company;

        RESOLVED FURTHER, that the Authorized Persons (and their delegates) are, and each
of them acting individually is, hereby authorized, empowered, and directed, in the name and on
behalf of the Company, to cause the Company to enter into, execute, deliver, certify, file and/or
record and perform such agreements, instruments, motions, affidavits, applications for approvals
or ruling of governmental or regulatory authorities, certificates or other documents, to incur all
such fees and expenses and to take such other action, as in the judgment of such Authorized Person
shall be or become necessary, proper and desirable to prosecute to a successful completion the
Chapter 11 Case, to effectuate the restructuring of debt, other obligations, organizational form and
structure and ownership of the Company and to carry out and put into effect the purposes of the
foregoing resolutions and the transactions contemplated by these resolutions;

        RESOLVED FURTHER, that the Authorized Persons (and their delegates) are, and each
of them acting individually is, hereby empowered, authorized, and directed to take such actions as
any of the Authorized Persons deem necessary, appropriate, advisable or desirable to pursue and
maximize the benefits of the Company’s Chapter 11 Case, including without limitation, pursuing
and consummating any sale or sales of the Company’s assets any of the Authorized Persons deem
necessary or appropriate, developing, negotiating, confirming and performing under a bankruptcy
plan of reorganization, and negotiating, executing and delivering on behalf of the Company any
and all agreements, instruments and related documents that, in the judgment and discretion of any
of the Authorized Persons are necessary, appropriate, advisable or desirable for pursuing and
consummating such sale or sales of the Company’s assets or for such development, negotiation
and confirmation of, and performance under, such a bankruptcy plan of reorganization, including
without limitation executing asset purchase agreements, plans and related documents;




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       RESOLVED FURTHER, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, each of the Authorized Persons (and their delegates) are
hereby empowered, authorized, and directed, in the name of and on behalf of the Company, to take
or cause to be taken any and all such other and further action, to amend, supplement or otherwise
modify from time to time, and to execute, acknowledge, deliver and file any and all such
agreements, certificates, instruments and other documents and to pay all expenses, including but
not limited to filing fees, in each case as in such Authorized Person’s or Authorized Persons’
judgment, shall be necessary, advisable or desirable in order to fully carry out the intent and
accomplish the purposes of the resolutions adopted herein;

       RESOLVED FURTHER, that any and all acts authorized pursuant to, and performed prior
to the execution of, this Consent in furtherance of these resolutions are hereby ratified and
approved; and

        RESOLVED FURTHER, that this Consent may be executed in one or more counterparts,
each of which shall constitute an original document, but all of which taken together shall constitute
but one instrument, and each counterpart shall be effective with respect to each person signing it,
even if another person whose signature is contemplated hereunder does not sign the same
counterpart.




              [Remainder of page intentionally left blank. Signature page follows.]




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        IN WITNESS WHEREOF, the undersigned, constituting the Requisite Member of the
Company, has executed and delivered to the Company this Consent to be effective as of the 20th
day of June 2024.


 REQUISITE MEMBER


 NJ EMS VENTURES LLC


 /s/ Louis V. Greco III
 By: Louis V. Greco III
 Title: Sole Member




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                                          United States Bankruptcy Court
                                                   District of New Jersey
 In re   NJ Mobile HealthCare LLC                                                      Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for NJ Mobile HealthCare LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
NJ EMS Ventures LLC




 None [Check if applicable]




June 20, 2024                                    /s/ Tracy L. Klestadt
Date                                             Tracy L. Klestadt
                                                 Signature of Attorney or Litigant
                                                 Counsel for NJ Mobile HealthCare LLC
                                                 Klestadt Winters Jureller Southard & Stevens, LLP
                                                 200 West 41st Street
                                                 17th Floor
                                                 New York, NY 10036
                                                 (212) 972-3000 Fax:(212) 972-2245
                                                 tklestadt@klestadt.com
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                                               United States Bankruptcy Court
                                                         District of New Jersey
 In re   NJ Mobile HealthCare LLC                                                                Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     June 20, 2024                                  /s/ Louis V. Greco III
                                                         Louis V. Greco III/Manager
                                                         Signer/Title
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WB Mason
PO Box 981101
Boston, MA 02298-1101

NJ EZ Pass
PO Box 4971
Trenton, NJ 08650

Verizon EW location
4 Pinewood Ct
West Windsor Township, NJ 08550

2037 Greenwood LLC
2037 Greenwood Avenue
Hamilton Township, NJ 08609

The Hartford
PO Box 660916
Dallas, TX 75266

Alexandria Willshire (Reimbursments)
77 Ludlam Rd
Monroe, NY 10950

Kaufman Dolowich Voluck, LLP
135 Crossways Park Drive
Suite 201
Woodbury, NY 11797

Network Digital
311 Route 46 West
Unit B
Fairﬁeld, NJ 07430

Rich Van Der Wall (reimbursments)
31 Stiles Ct
Pompton Lakes, NJ 07442

Office Team
PO Box 743295
Los Angeles, CA 90074-3295

Wex Bank
PO Box 6293
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Carol Steam, IL 60197-6293

United Healthcare
PO Box 94017
Palatine, IL 50094

Louis Greco III
PO Box 707
Suffern, NY 10901

PHILIP M. HERR, ESQ., CPA, PFS
1 Bergen Street
Apt 517
Harrison, NJ 07029

Chrysler Capital a/c x0076
PO Box 660647
TX 75266

Citrix
120 South West Street
Raleigh, NC 27603

Emsar
9208 Waterford Centre Boulevard
Suite 150
Austin, TX 78758

Violations Processing Center - NY EZ Pass
PO Box 15186
Albany, NY 12212

Borough of Ridgeﬁeld
700 Shaler Boulevard
Ridgeﬁeld, NJ 07657

Mahwah Automotive Center
111 Spring St.
Ramsey, NJ 07446

NYC Dept. of Finance
PO Box 3641
New York, NY 10008
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Department of the Treasury
Internal Revenue Service
Ogden, UT 84201-0039

Treasurer State of New Jersey
PO Box 663
DCA BFCE Dores
Trenton, NJ 08646-06636

Page, Wolfberg & Wirth, LLC
5010 East Trindle Road, Suite 202
Mechanicsburg, PA 17050

Big Tows Inc.
36 Red Schoolhouse Road
Chesnut Ridge, NY 10977

Uline
PO Box 88741
Chicago, IL 60680-1741

Progressive
PO Box 94739
Cleveland, OH 44101

JC Fuel Inc
292 Forest Avenue
Paramus, NJ 07652

Tolls by Mail Payment Processing Center
PO Box 15183
Albany, NY 12212-5183

Professional Account Management, LLC -PA Turnpike
PO Box 1153
Milwaukee, WI 53201-1153

Alliance One
PO Box 3100
Southeastern, PA 19398-3100

PSE&G
PO BOX 14444
New Brunswick, NJ 08906-4444
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Worthington Communications
65 Montague Street
Brooklyn, NY 11201

C & M Truck & Tire Repair Corp
152 Industrial Loop
Staten Island, NY 10309

Danielle Greco
PO Box 707
Suffern, NY 10901

E-ZPass NY
PO Box 24345
Brooklyn, NY 12212

Willshire Embroidery
635 Valley View Farm Road
Pence Springs, WV 24962

Bederson LLP
100 Passaic Avenue Suite 310
Fairﬁeld, NJ 07004

InSight Mobile Data
23330 Cottonwood Parkway
Suite 333
California, MD 20619

Monbes Landscaping
102 Caroline Avenue
Hamilton Township, NJ 08610

McKesson Medical Surgical
PO Box 634404
Cincinnati, OH 45263

Go Sign Me Up
22431 Antonio Parkway
Rancho Santa Margarita, CA 92688

Pitney Bowes
PO Box 371896
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Pittsburgh, PA 15250

Teleﬂex Funding LLC
3015 Carrington Mill Blvd Ste 300
Morrisville, NC 27560

County of Bergen Law and Public Safety Institute
281 Campgaw Road
Mahwah, NJ 07430

Louis Greco
PO Box 707
Suffern, NY 10901

Fleetcor
ATTN: Corpay, Inc.
3280 Peachtree Road, Suite 2400
Atlanta, GA 30305

Taddeo Shahan & Reisner, LLP
120 East Washington Street
Suite 400
Syracuse, NY 13202

Mahwah Fire Prevention Bureau
475 Corporate Drive
PO Box 733
Mahwah, NJ 07430

Wagner, Ferber, Fine & Ackerman PLLC
66 South Tyson Ave
Floral Park, NY 10075

Treasurer State of New Jersey
Lockbox 656
Woolverton Ave, Building 20
Trenton, NJ 08646

Coaching Systems LLC
21975 E Tallkid Ave
Parker, CO 80138

Arman Fardanesh
112 Cinnamom Station Way
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Newark, DE 19702

Guardian EMS
1 Hill Street
Paterson, NJ 07502

LifeSavers Inc.
39 Plymouth St.
Fairﬁeld, NJ 07004

United Lease
3700 Morgan Avenue
Evansville, IN 47715

Interstate 370 LLC.
ATTN: Gary Haig
330 Franklin Turnpike, Suite 210
Mahwah, NJ 07430

I.D.M. Medical Gas Co.
620 Braen Ave
Wyckoff, NJ 07481

Corporation Service Company
PO Box 13397
Philadelphia, PA 19101-3397

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Virginia Beach, VA 23452

Emergency Training and Consulting (East coast Medical Consultants a/o 3/7/2023)
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Horsham, PA 19044

NorStar Systems Inc
PO Box 12
Pompton Lakes, NJ 07442-0012

Tomat Fleet Service
2765 Stillwell Avenue
Brooklyn, NY 11224
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CSC Corp Service Company
Po Box 7410023
Chicago, IL 60674-5023

Department of the Treasury
Internal Revenue Service
Kansas City, MO 64999-0002

State of New Jersey Dept of Labor and Workforce Dev Div
PO Box 059
Trenton, NJ 08646-0059

Interstate Waste Services
PO Box 554744
Detroit, MI 48255-4744

Archer Law Office, LLC
2235 Whitehorse Mercerville Road
Hamilton, NJ 08619

Bergen Brookside Automotive
8595 Zabriskie Street
Hackensack, NJ 07601

V.E. Ralph and Son Inc
PO Box 633
Kearny, NJ 07032-0633

Quill
PO Box 37600
Philadelphia, PA 19101-0600

Stryker Medical
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Portage, MI 49024

Travelers
Dept. 96596
PO Box 660333
Dallas, TX 75266

De Lage Landen Financial Services, Inc.
PO Box 825736
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Philadelphia, PA 19182-5736

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71 Hope Road
Blairstown, NJ 07825

Ventec Life Systems
22002 26th Ave SE
Bothell, WA 98021

HAVIT Systems Corporation
70 Kent Shore Drive
Carmel, NY 10512

AT&T Mobility
PO BOX 6463
Carol Stream, IL 60197-6463

Conﬁdential Shredding
P.O. Box 8643
Woodcliff Lake, NJ 07677

Expressway Collision, Inc.
211 Veterans Rd W Ste 1
Staten Island, NY 10309

8x8 Inc.
675 Creekside Way
Campbell, CA 95008

Integrated Rental Services Inc. (Avante)
2601 Stanley Gault Parkway
Suite #101
Louisville, KY 40223

Metro Ambulance
7 Daniel Drive
Cedar Grove, NJ 07009

Whip-Around Inc.
5955 Carnegie Boulevard
STE 300
Charlotte, NC 28209
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Falasca Bros Friendly Svc Inc
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TLC Mobile Health, LLC
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All American Ford
520 River Street
Hackensack, NJ 07601

Specialty Fleet Services, LLC
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East Farmingdale, NY 11735

Schickler Kaye llp
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11th Floor
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San Diego, CA 92121

Life Tech Inc, DBA Life Ride
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Portage, MI 49024

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Urban Auto Spa II, LLC
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Ramsey, NJ 07446

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152 Tunnel Facility Drive
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Nissan Motor Acceptance Corp Rogue x511
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Nissan Motor Acceptance Corp Sentra x239
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Egg Harbor Township, NJ 08234
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Piscataway, NJ 08854

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Sacramento, CA 94230-6215

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